Case 4:15-cV-00241-GKF-t|vv Document 2 Filed in USDC ND/OK on 05/05/15 Page 1 of 19

IN THE UNITED STATES DISTRICT COURT FOR
THE NORTHERN DISTRICT OF OKLAHOMA F I L E D

MAY 05 2015

Phil Lombar ‘
u.s. bcsrmci1 'bgl;?q'¥

l. EDWARD WATSON,
Plaintiff,
v.

1-5 CV -241GKF TIW

l. RECIPROCITY RESTAURANT

 

\/\/V\/\/\./\/\/\/\/\/\/\/\/\./\/

GROUP, LLC, d/b/a CHURCI-I’S CHICKEN, Case No.
an Oklahoma limited liability company,
and
2. MODERN BUSINESS ASSOCIATES,
INC., a foreign corporation,
Defendants.
NOTICE OF REMOVAL

 

Defendant Reciprocity Restaurant Group, LLC, d/b/a Church’s Chicken (“RRG”), for its
Notice of Removal, states the following:

l. RRG is named as a defendant in a civil action brought against it in the District Court
for Tulsa County, State of Oklahoma, under the case styled, Edwara’ Watson, Plaintijfv. Reciprocily
Restaurant Group, LLC, d/b/a Church ’s Chicken, an Oklahoma limited liability company, and
Modern Business Associates, Inc., a foreign corporation, Defendants, Case No. CJ-2014-04960.

2. Plaintiffs Petition alleges one claim against RRG: discrimination in hiring based on
race in violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000(e) et seq.

(“Tiue VII”).

NOTICE OF REMOVAL - Page l 0f3

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3. The United States District Courts have original jurisdiction over Plaintiff’s claim
because Plaintiff‘s claim arises under the Constitution, laws, or treaties of the United States.
Accordingly, this action may be removed pursuant to 28 U.S.C. §§1331 ahd 1441.

4. The aforementioned action was commenced by service of summons upon RRG via
U.S. Certified Mail on April 7, 2015. Thus, this Notice of Removal is timely filed under the
provisions of28 U.S.C. §1446.

5. Copies of all process, pleadings and orders filed in the aforementioned state action,
including the state court docket sheet, are attached hereto and marked as Exhibit “A.”

6. Copies of all process, pleadings and orders served upon RRG are attached hereto and
marked as Exhibit "B."

7. This action apparently is related to another civil action filed in the District Court for
Tulsa County, State of Oklahoma, under the case styled, April Watson, Plaintijj” v. Reciprocity
Restaurant Group, LLC, d/b/a Church’s Chicken, an Oklahoma limited liability company, and
Modern Business Associates, Inc., a foreign corporation Defendants, Case No. CJ-2014-04961.
The two lawsuits are filed against RRG and MBA, both allege identical operative facts, both allege
the same one claim against both RRG and MBA, both were filed and Served on the same dates, and
both were filed by the same attorney. RRG is filing a Notice of Removal and related documents to
effect the removal of both cases on this same date.

WHEREFORE, RRG prays that this action be removed from the District Court for Tulsa

County, State of Oklahoma, to this Court.

NOTICE OF REMOVAL - Page 2 0f3

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/
DATED this § day of May, 2015.

Respectfully submitted,

®tt atle

David R. Cordell, OBA #11272
CONNER & WINTERS, LLP
4000 One Williams Center
Tulsa, OK 74172-0148

(918) 586-5711

(918) 586-8547 (fax)
dcordell@cwlaw.com

ATTORNEYS FOR DEFENDANT
RECIPROCITY RESTAURANT GROUP,
LLC

CERTIFICATE OF SERVICE

I certify that on the same date this Notice of Removal was filed in the United States District Court
f`or the Northern District of Oklahoma a true and correct copy of said Notice of Removal was served
upon the above-named Plaintiff, by mailing said copy to Plaintiff‘s attorneys of record, Christopher
L. Camp, Camp Law Firm, 7122 S. Sheridan Road, Suite #3-382, Tulsa, OK 74133, and further that
a copy of said Notice of Removal was hand delivered to Sally Howe-Smith, Court Clerk, District
Court in and for Tulsa County, 406 Courthouse, 500 Denver Avenue, Tulsa, Oklahoma 74103-3844,

for filing that same date.

NOTICE OF REMOVAL - Page 3 0f3

ila wit

 

David R. Cordell

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The information on this page is NOT an official record. Do not rely on the correctness or completeness of this
information. Verify all information with the official record keeper. The information contained in this report is provided
in compliance With the Oklahoma Open Records Act, 51 O.S. 24A.1. Use of this information is governed by this acl,
as well as other applicable state and federal laws.

IN THE DISTRICT COURT |N AND FOR TULSA COUNTY, OKLAHOMA

EDWARD V\/ATSON, No. CJ-2014-4960

Plaintiff, (Civil relief more than $10,000:

v DlSCRlM|NATlON)

REC|PROC|TY RESTAURANT GROUP LLC, DBA

CHURCHES CH|CKEN Filed: 12/29/2014
Defendant, and

MODERN BUS|NESS ASSOC|ATES |NC.

Defendant Judge: Kuehn, Dana

PART|ES

MODERN BUSINESS ASSOC|ATES |NCl Defendant
REC|PROC|TY RESTAURANT GROUP LLC, Defendant
WATSON, EDWARD, Piaintiff

ATTORNE¥S
Attomey Represented Parties
Camp, Christopher (Bar#18541) WATSON, EDWARD

7122 S. SHER|DAN RD., STE. #2-382
TULSA, OK 74133

CORDELL, DAV|D R (Bar #11272) REC|PROC|TY RESTAURANT GROUP LLC.
CONNER & V\/|NTERS, LLP

4000 ONE WlLL|AMS CENTER

TULSA, OK 74172

EVENTS

None

|SSUES
EleBlT

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For cases filed before 1/1/2000. ancillary issues may not appear except in the docket

issue #1. |SSue: DlSCRlM|NAT|ON (DlSCR|i\/i)
Filed By: WATSON, EDWARD LEE
Filed Dale: 12/29/2014
Party Name Disposition lnforrnation
Defendant: Pending.
REC|PROCITY RESTAURANT GROUP LLC
Defendant: Pending.
MODERN BUS|NESS ASSOC|ATES iNC
Date Code Description Count Party
12-29-2014 TEXT Civil reliefmore than 310.000 initial Fiiing, 1
12-29-2014 DlSCRiM DiSCRiiviiNATiON
12-29-2014 DMFE DlSPUTE i\/iEDlATiON FEE
12-29-2014 PFEl PET|T|ON
DocumentAvai/able (#1028057739)
12-29-2014 PFE7 LAVVL|BRAR¥ FEE
12-29-2014 OCiSR Oklahoma Court information System Revoiving Fund
12-29-2014 CCADi\/ilN02 Court Cierk Administrative Fee on $2 Col|ections
12-29-2014 OCJC Oklahoma Councii on Judicial Compiaints Revoiving Fund
12-29-2014 OCASA Oklahoma Court Appointed Speciai Advocates
12~29-2014 CCADMiN04 Court Cierk Administrative Fee on Co|iections
12-29-2014 LTF Lengthy Triai Fund
12-29-2014 SMF Summons Fee (Clerks Fee)-2
12-29-2014 SM|i\/iA Summons issued - i\/iai|ed by Attorney
12-29-2014 TEXT OCiS has automatically assigned Judge Kuehn. Dana to this
case.
12-29-2014 ADJUST ADJUSTiNG ENTRY: i\/|ON|ES DUE TO ACOQ-CARD
ALLOCAT|ON
12-29-2014 ACCOUNT ADJUSTlNG ENTRY: MON|ES DUE TO THE FOLLOW|NG

AGENC|ES REDUCED BY THE FOLLOW|NG AMOUNTS;
CJ-2014-4960:A081 Lengthy Trial Fund -$0.25

CJ-2014-4960: AC79 OCiS Revolving Fund -$0,63
CJ-2014-4960: AC64 Dispute Mediation Fees -30.05
CJ-20‘l4-4960: ACSQ Oklahoma Councii on Judicial Compiaints
Revoiving Fund -$0.05

Amount

$ 2.00

$ 163.00

$ 6.00
$ 25.00
$ 0.20
$ 2.00
$ 5.00
$ 0.50
$ 10.00

$ 10.00

$ 5.60

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12-29-2014 ACCOUNT

04-27-2015 EAA

CJ-2014~4960: AC58 Oklahoma Court Appointed Speciai
Advocates ~$O.13

CJ-2014-4960: A(331 Court Cierk Revoiving Fund -$0.02
CJ-2014~4960: ACZ3 Law Library Fee -SO.15
CJ-2014-4960: AC01 Cierk Fees -$4.32

Receipt # 2014-3000069 On 12/29/2014.

Payor:CAMP CHR|STOPHER L Totai Amount Paid: $223.70.
Line items:

CJ-2014-4960: $168.68 on ACOi Cierk Fees.
CJ-2014-4960'. $5.60 on AC09 Card A|iocations.
CJ-2014-49602 $5.85 on AC23 i_aw Library Fee.
CJ-2014-4960: $0.68 on AC31 Court Cierk Revoiving Fund.
CJ-2014-4960: $4.87 on AC58 Oklahoma Court Appointed
Speciai Advocates.

CJ-2014-4960: $1.95 on ACSQ Oklahoma Councii on Judicial
Comp|aints Revoiving Fund.

CJ-2014-4960: $1.95 on ACG4 Dispute i\/lediation Fees.
CJ-2014-49601524.37 on AC79 OCIS Revoiving Fund.
CJ-2014-4960: $9.75 on AC81 Lengthy Triai Fund.

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SPECiAL ENTRY OF APPEARANCE / DAV|D R CORDELL REC|PROC|TY
ENTER|NG AS COUNSEL /W-CS / CERT|FiCATE OF SERV|CE RESTAURANT
DocumentAvai/ab/e (#1029448549) GROUP LLC

{-.

rif

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I'N 'I`HE DISTRICT COURT OF TULSA COUNT‘. ]"|||E|§M§I §§ § um ii
STATE OI" OKLAl~lOMA i;k .

EDWARD WATSON,
Plaintiff`,
vs.

RECIPROCITY RESTAURANT
GROUP, LLC, d/b/a CHURCH"S
CHICKEN, an Oklahoma limited
Liabiiity Company and MODERN
BUSINESS ASSOCIATES, iNC., a
foreign corporation

Dei`endants

\/\_/V\/\/\./\_/\./v\./\/V\/

 

 

 

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1029448

Case No. CJ-2014-04960
J udge Kuehn

DISTRICT COUR
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srA `_ mwisiicouuw

SPECIAL ENTRY OF APPEARANCE

COMES NOW Recipr<)city Restaurant Group, LLC dib/a Church’s Chicken"and fdr its

Speciai Entry ot` Appearance, states that pursuant to i2 O.S. §2012(/\) and (B) and Young v.

Walton, 807 P.2d 248 (Okla. i99i), it hereby enters a special appearance without waiving

defenses and further reserves an additional twenty (20) days within which to answer or otherwise

respond to Plaintift"s Petition, up to and including May 19, 2015. By making such a qualified

special appearance, Defendant reserves the right to later assert additional defenses

Respectf`ully submitted,

Qd:i/,/` /M

David R. GMJCH, oBA# 11272
coNNER & WINTERS, LLP
4000 One Williams Center
Tulsa, ok 74172-0148

(918) 586-8995

(918) 586-8695 i`ax
dcordell@cwlaw.com

Case 4:15-cv-OO241-GKF-t|vv Document 2 Filed in USDC ND/OK on 05/05/15 Page 8 of 19

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CERTIFICATE ()F SERVICE

l hereby certify that on the Z_ day of Apri.l, 2015, l mailed a true and correct copy, with
proper postage paid, to the following:

Christopher L. Camp
7122 South Sheridan Road, Suite #2~3 82
Tulsa, Oklahoma 74133

G§J/X@/a

 

 

 

   

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*1028057739,. F§TRET:§URT
TULSA COUNTY DISTRICT COURT D
sTATE or oi<LAHoM'A 1355 2 9 gmi
EDWARD WATSON, ) S)ii.tri-ig
) s o?§g§~;"l§&€oum CWK
Plaintiff, )
) w Case No.
» , ; airemaaana
RECIPROCITY RESTAURANT )
GROUP, LLC, d/b/a CHURCH’S ) JuRv TRIAL, DEMANI)ED
CHICKEN, an Oklahoma limited ) ATTORNEY LIEN CLAtMED
liability company, and M()DERN )
BUSINESS ASSOCIATES, INC., a )
foreign corporation, )
) q ii\;a“"i °'.:"H‘ ¥"'¥", $:“il
Defendants. ) § § q 5 il ‘ wl
PETITI()N

Plaintifi` F.dward Watson (“Watson" or "`Plaintiff") hereby brings this action
seeking declaratory and injunctive relie'l`, compensatory and equitable damagcs,
liquidated damages punitive damagcs, and costs and attorney fees for violations by
Defendants Reciprocity Restaurant Group, I.-i.,C, doing business as Church’s Chicken
("Church’S"’) and Modern Business Associates, lnc. (“MBA”. collectively,
“`De'i`endants”), oi` lI`itlc ViI <.)f` the Civil Rights Act oi` 1964. as amended, 42 U.S.C. §

2000e et seq.

{ '.#’. "__'-"

l_’_,\RTtEs,JuRist)icT_to.\_' &_ VENuE A_` -,.~ . 53
._ '. _`1

l. 1` his action arises under litle Vll of the Civil Rights Act oi 1964 as amended 42`§
' ~1‘. § 547
ii s C §2000@ eiseq (“Tiiie vlr’i ::

:‘uv
-1.

2. Plaintii`f` Edward Watson is a resident of` the City of Tulsa Tulsa County, State 645
. Q_ _J
‘.`~l

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Case 4:15-cv-OO241-GKF-t|vv Document 2 Filed in USDC ND/OK on 05/05/15 Page 9 of 19

Case 4:15-cv-OO241-GKF-t|vv Document 2 Filed in USDC ND/OK on 05/05/15 Page 10 of 19

   

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Pliiiniift` is a member oi`a class protected by Title V`il ofthe Civil Rights Act of
1964, as amended, 42 U.S.C. § 2000e (“Title Vll"), to wit: African-American.

4. Defendant Reciprocity Restaurant Grou'p, LLC, doing business as Church`s
Chicken., is a domestic limited liability company that conducts business in the

City ot`Tulsa, State of Oklahoma.

U\

. Church’s may be served With process by serving its registered agent. wliich.
according to the Oklahoma Secretary of` State. is Lyndon S. Johnson, 115 West 5th
Street. Suite 1304, Tulsa, Oklahoma 74103.

6. Church’s is an “employer” pursuant to 42 U.S.C. § 2000e(b).

7. Church’s has more than 500 employees l"or each working day in each of twenty or

more calendar weeks in the current or preceding calendar year.

8. Defendant Modern Business /~\ssociates, lnc. is a l"`lorida for-profit corporation

that is authorized to conduct business in the State of Oklahoma

9. MBA may be served with process by serving its registered agent, wlio_. according

to the Oklahoma Seeretary of State, is the Oklahoma Secretary oi" State, 2300
North Lincoln Boulevard._ Suite 101` Oklahoma C.`ity, Oklahoma 73105-4897.

10. MBA is an "cmployer"" pursuant to 42 U.S.C. § 2000e(b).

ll. MBA has more than 15 employees for each working day in each oi" twenty or

more calendar weeks in the current or preceding calendar year.

l2. Defendants operate the Church’s Chicken restaurant located at 3036 South

Garnett Road, Tulsa. Oklahoma 74129.
13. Church’s and MBA exercised control over the terms and conditions of the

position for which Piaintii`i` sought to appiy.

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14. Plaintif.f timely filed Charge of Discriinination No. 564-2011-01568 with the
United States Equal Employment Oppoi'tunity Commission (“EEOC”), wherein
he complained that Del`endants unlawfully discriminated against him on thc basis
of his race by failing to hire him.

15. Piaintiff filed this action within ninety (90) days after receiving his Disrnissal and
Notice rif/fights from the EE()C on October 3_. 2014.

16. This Court has subject matter jurisdiction over Plaintii`i"s claims pursuant to the
holding in Yellow Frei`ght S).".stem. lnc. v. Donne//y. 494 U.S. 820_. 110 S.Ct. 1566
(1990)._ that state courts have eoncurrentjurisdiction with federal courts over civil
actions brought under Title Vll.

17. The venue of this action properly lies in 'i`ulsa County District Court pursuant to

OKLA. STAT. tit. l2 §§ 133 and l37.

18.0n approximately August 31. 2011, Plaintiff visited the Church’s Chicken
restaurant located at 3036 South Garnett Road in 'i`ulsa, Oklahoma, seeking
employment

19. Plaintiff requested an employment application._ but was told by the manager on
duty, Shift Manager Audre_v lliatt, that Church’s does not hire black people and
that he would not be hired.

20. When interviewing for a position with Church’s iii approximately .iuiy 2010,

Audrey Hiatt was told by District l\/lanager .iim Darden that he "preferred to hire

Case 4:15-cv-OO241-GKF-t|vv Document 2 Filed in USDC ND/OK on 05/05/15 Page 12 of 19

   

l\/lexicans" over other races/nationalities, including African-Amerieans, because

i\/Iexicans "are harder workers."'

_E_iitsr CAusi; oF'A_C'rioN:
DisCRii\ii-NATORY FAiLt:Rr. To HiRiz iN Vioi_,ATioN or Ti'i'LE Vll

For his l~`irst Causc of Act'ion, Plaintiff re-alleges and incorporates by reference all
paragraphs above._ and further states:

21. At all times material to Plaintiff`s First Cause of Aetion. Defendants shared
and/or co-determincd matters governing the essential terms and conditions of
employment for those individuals working at the Church’s Chicken restaurant
located at 3036 South Garnett Road in Tulsa,4 Oklahoma

22. As an African-American. Plainti'f'i" is protected from race-based discrimination
under the provisions ot`Titlc VII, § 2000(e) el .s'eq.

23. Plaintiff sought employment for an available position at the Church’s Chicken
restaurant located at 303() South Gamett Road in Tulsa, Oklahoina.

24. Plaintiff was qualified i`oi' the position i`or which she sought to apply.

25.Plaintiff was rejected under circumstances that give rise to an inference of
unlawful race discrimination

26. Defendants’ failure to hire Piaintiff constitutes race discrimination in violation of
Titie Vll.

27. The acts and/or omissions by Defendants have given rise to a claim by Plaintiff
for equitable damages, said damages consisting of back pay_. front pay, lost
employment benefits prejudgment interest, attorney fees, and costs.

28. 'l`he acts and/or omissions by Defendants have given rise to a claim by Piaintiff

for compensatory damages said damages consisting of emotional distress, loss of

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enjoyment of life, loss of self-esteem, loss of earning capacity, embarrassment,
humiliation, inconvenience and mental anguish.

29. The acts and/or omissions of Defendants were willful, wanton, malicious and/or
in total disregard for Plaintift’s rights, giving rise to punitive damages
WHEREFORE, premises considered, Plaintiff Edward Watson prays for

judgment against Defendants Reciprocity Restaurant Group, LLC, and Modern Business
Associates, lnc., for actual, compensatory, and punitive damages (including back pay,
front pay, lost employment benefits, emotional distress, loss of enjoyment of life, loss of
self-esteem, loss of earning capacity, embarrassment, humiliation, inconvenience, and
mental anguish) in the amount of $375,000.00, or such other sum consistent with the
evidence that Plaintiff anticipates will be presented in this case. PlaintitT also prays for
prejudgment interest, attorney fees, and the costs ol` this action, to be taxed against
Defendants, along with an award of all other relief (whether legal, equitable, or both) to

which Plaintif‘f may be entitled and/or that the Court deems just and proper.

Respectfully submitted:

CAMP LAW FIRM

    
      

. L .

Christophe L. Camp, OBA #1 41
7122 South Sheridan Road, Suite #2-382
Tulsa, Oklahoma 74133

Telephone: (918) 200-4871

Facsimile: (918) 550-8337

E-mail: ccamp@camplawtulsa.com

Attorney for Plaintiff Edward Watson

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ORIGINAL SUMMONS
IN THE DISTRICT COURT OF TULSA COUNTY
STATE OF OKLAHOMA, 500 SOUTH DENVER AVENUE, TULSA, OKLAHOMA 74103

EDWARD WATSON,

 
 

Plaintiff,
Attorney(s) for Plaintiff:

Name: Christopher Camp, OBA #18541
Address: 7122 S. Sheridan Rd., Ste. #2-382
Tulsa, OK 74133

'l`elephone: (918) 200-4871

V.

RECIPROCITY RESTAURANT GROUP,
LLC, et al.

Defendants.

RECIPROCITY RESTAURANT GROUP, LLC
c/o Lyndon S. Johnson, Registered Service Agent
115 west 5th street suite 1304

Tulsa, Oklahoma 74103

 

To the above-named Respondent Appointed to serve, PSL #

 

 

Authorized by

You have been sued by the above named plaintiff(s) and you are directed to tile a written answer to the
attached petition and order in the court at the above address within twenty (20) days after service of this
summons upon you exclusive of the day of service. Within the same time, a copy of your answer must be
delivered or mailed to the attorney for the plaintiff Unless you answer the petition within the time stated
judgment will be rendered against you with costs of the action

Issuedthis 17£§[' day of ['Z.. ,2014.

SALLY HOWE SMlTH, COURT CLERK

  

,, > * Court Clerk
(Seal)

This Summons and order was served via U.S. Certiiied Mail on Ml=,l,_&gt§._

twa t_. me

(Si§tature of person serving suinmons)

YOU MAY SEEK THE ADVICE OF AN ATTORNEY ON ANY MATTER CONNECTED
WITH THIS SUIT OR YOUR ANSWER. SUC'H ATTORNEY SHOULD BE CONSULTED
IMM.`EDIATELY SO THAT AN ANSWER MAY BE FILED WITHIN THE TIME LIMIT STATED IN
THE SUMMONS.

Return ()RIGINAL for filing.

EXHlBlT

 

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DISTRICT COURT

      

TULSA COUNTY DISTRlCT COURT F § gm § §
STATE OF OKLAHOMA 1 ,
Dr.C 2 9 ZUl4
EDWARD WATSON,
sam i-iowE saint count cteax
Plain tiff, stare or cna wish causal
t twea§§$
RECIPROCITY RESTAURANT

GROUP, LLC, d/b/a CHURCH’S
CHICKEN, an Oklahoma limited
liability company, and MODERN
BUSINESS ASSOCIATES, lNC., a
foreign corporation,

JURY TRIAL DEMANDED
ATTORNEY LIEN CLAlMED

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Defendants.
PETITION

Pla.intiff` Edward Watson (“Watson” or “Plaintifi”) hereby brings this action
seeking declaratory and injunctive relief, compensatory and equitable damages,
liquidated damages, punitive damages, and costs and attorney fees for violations by
Defendants Reciprocity Restaurant Group, LLC, doing business as Church’s Chicken
(“Church’s”) and Modern Business Associates, lnc. (“MBA”, collectively,
“Def`endants”), of 'I`itle VIl of the Civil Rights Act of 1964, as amended, 42 U.S.C. §

2000e et seq.

PARTlns, JuRilecTioN & VF.NuF.
1. 'I`his action arises under Title VII of the Civil Rights Act of 1964, as amended, 42
U.S.C. § 2000e el seq. (“Title VII”).
2. Plaintifl" Edward Watson is a resident of the City of Tulsa, Tulsa County, State of

Oklahoma

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3. Plaintiff is a member of a class protected by Title VII of the Civil Rights Act of
1964, as amended, 42 U.S.C. § 2000e (“'l`itle Vll”), to wit; African-American.

4. Defendant Reciprocity Restaurant Group, LLC, doing business as Church’s
Chicken, is a domestic limited liability company that conducts business in the
City of Tulsa, State of Oklahoma

5. Church’s may be served with process by serving its registered agent, which,
according to the Oklahoma Secretary ot` State, is Lyndon S. Johnson. 115 West 5th
Street, Suite 1304, Tulsa, Oklahoma 74103.

6. Church’s is an “‘employer” pursuant to 42 U.S.C. § 2000e(b).

7. Church’s has more than 500 employees for each working day in each of twenty or
more calendar weeks in the current or preceding calendar year.

8. Defendant Modem Business Associates, lnc. is a Florida for-profit corporation
that is authorized to conduct business in the State of Oklahoma

9. MBA may be served with process by serving its registered agent, who, according
to the Oklahoma Secretary of State, is the Oklahoma Secretary of State, 2300
North Lincoln Boulevard, Suite 101, Oklahoma City, Oklahoma 73105-4897.

10. MBA is an “employer” pursuant to 42 U.S.C. § 2000e(b).

ll. MBA has more than 15 employees for each working day in each of twenty or
more calendar weeks in the current or preceding calendar year.

12. Defendants operate the Church’s Chicken restaurant located at 3036 South
Gamett Road, Tulsa, Oklahoma 74129.

13. Church’s and MBA exercised control over the terms and conditions of the

position for which Plaintiff sought to apply.

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l4. Plaintiff timely filed Charge of Discrimination No. 564-2011-01568 with the
United States Equal Employment Opportunity Commission (“EEOC”), wherein
he complained that Defendants unlawfully discriminated against him on the basis
of his race by failing to hire him.

15. Plaintiff filed this action within ninety (90) days after receiving his Dismissal and
Notice of Rights from the EEOC on October 3, 2014.

16. This Court has subject matter jurisdiction over Plaintifi’s claims pursuant to the
holding in Yellow Freight System, lnc. v. Donnelly, 494 U.S. 820, 110 S.Ct. 1566
(1990), that state courts have concurrent jurisdiction with federal courts over civil
actions brought under Title VII.

17. The venue of this action properly lies in Tulsa County District Court pursuant to

OKLA. STAT. tit. 12 §§ 133 and 137.

F_A_C_T.s_

18.0n approximately August 31, 2011, Plaintiff visited the Church’s Chicken
restaurant located at 3036 South Garnett Road in Tulsa, Oklahoma, seeking
employment

19. Plaintiff requested an employment application, but was told by the manager on
duty, Shi:& Manager Audrey Hiatt, that Church’s does not hire black people and
that he would not be hired.

20. When interviewing for a position With Church’s in approximately July 2010,

Audrey Hiatt was told by District Manager J im Darden that he “preferred to hire

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Mexicans” over other races/nationalities, including African-Americans, because
Mexicans “are harder workers.”

FIRST CAusE 0F AcTioN:
DlscRiMlNAToRY FAILURE To HIRE lN VloLATioN oF TiTLE VII

 

For his First Cause of Action, Plaintiff re-alleges and incorporates by reference all
paragraphs above, and further states:

21. At all times material to Plaintiff's First Cause of Action, Defendants shared
and/or co-determined matters governing the essential terms and conditions of
employment for those individuals working at the Church’s Chicken restaurant
located at 3036 South Garnett Road in Tulsa, Oklahoma

22. As an African-American, Plaintiff is protected from race-based discrimination
under the provisions of Title VII, § 2000(e) et seq.

23. Plaintiff sought employment for an available position at the Church’s Chicken
restaurant located at 3036 South Gamett Road in Tulsa, Oklahoma.

24. Plaintiff was qualified for the position for which she sought to apply.

25.P1aintiff Was rejected under circumstances that give rise to an inference of
unlawful race discrimination

26. Defendants’ failure to hire Plaintiff constitutes race discrimination in violation of
Title VIl.

27. The acts and/or omissions by Defendants have given rise to a claim by Plaintiff
for equitable damages, said damages consisting of back pay, front pay, lost
employment benefits, prejudgment interest, attorney fees, and costs.

28. The acts and/or omissions by Defendants have given rise to a claim by Plaintiff

for compensatory darnages, said damages consisting of emotional distress, loss of

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enjoyment of life, loss of self-esteem, loss of earning capacity, embarrassment,
humiliation, inconvenience and mental anguish.

29. The acts and/or omissions of Defendants were willful, wanton, malicious and/or
in total disregard for Plaintist rights, giving rise to punitive damages
WI{EREFORE, premises considered, Plaintiff Edward Watson prays for

judgment against Defendants Reciprocity Restaurant Group, LLC, and Modern Business
Associates, Inc., for actual, compensatory, and punitive damages (including back pay,
front pay, lost employment benefits, emotional distress, loss of enjoyment of life, loss of
self-esteem, loss of earning capacity, embarrassment, hurniliation, inconvenience, and
mental anguish) in the amount of $375,000.00, or such other sum consistent with the
evidence that Plaintiff anticipates will be presented in this case. Plaintiff also prays for
prejudgment interest, attorney fees, and the costs of this action, to be taxed against
Defendants, along with an award of all other relief (whether legal, equitable, or both) to

which Plaintiff may be entitled and/or that the Court deems just and proper.

Respectfully submitted:

CAMP LAWFIRM

       

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